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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                    4:01-CR-56-SPM

PERCY GLAZE,


     Defendant.
_____________________________/

   ORDER DENYING MOTION TO CONSIDER RELIEF UNDER RULE 35(b)

       THIS CAUSE comes before the Court upon the petition for writ of

mandamus (doc. 33) filed April 5, 2005, in which Defendant asks the

Government to fulfill a promise allegedly made to file a substantial assistance

motion on Defendant’s behalf pursuant to Federal Rule of Criminal Procedure 35.

In response to an order from this Court on April 11, 2005 (doc. 34), the

Government filed a response (doc. 35) on April 25, 2005.

       After pleading guilty, Defendant provided information to the Government

that led to a 5K1.1 departure on his behalf at sentencing. Defendant states that

because information he gave regarding a Tyrone Patterson was not “ripe” at the

time of sentencing, he was not given credit for that. Defendant additionally
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alleges that at sentencing, the prosecutor stated that he anticipated filing a Rule

35 on Defendant’s behalf in the future not only because of information on

Patterson, but because of additional credit he would receive for the subsequent

cooperation of Cavetta Corbett, Jerry Williams and Jason Johnson.

        The Government’s response states that the information Defendant gave

on Tyrone Patterson was not useful, explaining that Patterson was previously

known to law enforcement and that his eventual prosecution arose from sources

entirely separate and apart from Defendant. As to the other individuals named

by Defendant, the Government responds that the information given by Defendant

had no impact and was of no use in their prosecution other than the credit

Defendant has already received via a 5K1.1 motion.

        The Court finds the Government’s response sufficient to demonstrate that

Defendant is not entitled to relief. Accordingly, it is

        ORDERED AND ADJUDGED that the petition (doc. 33) is hereby denied.

        DONE AND ORDERED this sixteenth day of May, 2005.


                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge
/pao
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